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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                          BLUEFIELD DIVISION

STEVE LAMBERT,

     Movant,

v.                                  Civil Action No. 1:04-0276
                                    Criminal Action No. 1:01-00237-02

UNITED STATES OF AMERICA,

     Respondent.

                              MEMORANDUM OPINION

     Pursuant an accompanying Judgment Order, in which the court

overrules movant’s objections to Magistrate Judge R. Clarke

VanDervort’s Proposed Findings and Recommendation [hereinafter

“Findings and Recommendation” or “F & R”], the court now issues

its Memorandum Opinion.        In his F & R, the magistrate judge

recommended that this court deny movant’s motion to reduce

sentence (Doc. No. 2) because post-sentencing changes in the

United States Sentencing Guidelines (“Guidelines”) do not change

movant’s Guideline range.        Movant filed objections, and the court

conducted a de novo review of the record.             For the reasons below,

the court agrees with the findings of the magistrate judge.

                         I.    Factual Background

     On March 18, 2002, movant pled guilty to conspiracy to

distribute oxycodone in violation of 21 U.S.C. § 843.               (Criminal

Action No. 1:01-00237-2, Doc. Nos. 97 & 99.)            In accordance with

the provisions of U.S.S.G. § 2D1.1 (Drug Table) in effect at the
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time, movant was sentenced to a 78-month term of imprisonment.

(Criminal Action No. 1:01-00237-2, Doc. No. 140.)

     Movant asks this court to reduce his sentence based on an

amendment made to the United States Sentencing Guidelines

(“Guidelines”) after movant’s sentencing.            When the Sentencing

Commission changes the Guidelines pursuant to 28 U.S.C. 994(o)

after a criminal defendant is sentenced, a court may reduce the

term of imprisonment after considering the factors set forth in

18 U.S.C. § 3553(a).     18 U.S.C. § 3582(c)(2).         Guidelines

Amendment 657 is such an amendment.         It changes Note B to

U.S.S.G. § 2D1.1 by adding a new paragraph stating that “[t]he

term Oxycodone (actual) refers to the weight of the controlled

substance, itself, contained in the pill, capsule, or mixture.”

U.S.S.G. App. C Amend. 657.

     Because the drug weight for movant’s sentencing was

calculated under the old rule which included the weight of the

oxycodone pills in the calculation, the drug weight attributable

to him was higher than it would be under th new rule.              However,

as the magistrate judge explains in his proposed F & R, the

change in drug weight attributable to movant does not change

movant’s Guideline range because he maintains the same offense

level under both rules.      (See Doc. No. 5 at 3-4) (explaining how

the drug weight attributable to movant is calculated under the

old and new rule).     Thus, because movant’s Guideline range


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remains the same under the new and old rule, § 3582(c)(2) does

not authorize this court to lower movant’s sentence.

Accordingly, Magistrate Judge VanDervort recommended that this

court deny movant’s motion.

     In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which

to file any objections to Magistrate Judge VanDervort’s Findings

and Recommendation.     On May 14, 2004, movant filed timely

objections to the magistrate judge’s proposed F & R.             Movant does

not dispute the magistrate judge’s calculations and conclusions

regarding a change in movant’s sentence pursuant to § 3582(c)(2).

(Doc. No. 6 at 1.)     Instead, movant makes a new argument.            He

asks this court to lower his sentence based on testimony revealed

at the sentencing of one of movant’s co-conspirators, Mr. Butchie

Dion Justice.    (Id. at 2.)    Movant alleges that witness Jonna

Newcomb lied about the amount of cocaine she saw in the

possession of movant’s co-defendants, Mr. Justice and Mr. Jeff

Lambert.   (Id.)     Movant alleges that at Mr. Justice’s sentencing,

Newcomb was impeached, and that her testimony about cocaine

weight attributable to the conspirators, including movant, was

therefore found not credible.       (Id.)    Movant alleges that Mr.

Justice received a lower sentence than movant because of Ms.

Necomb’s allegedly discredited testimony.            (Id.)    As such, movant

argues that his sentence should be lowered too.              (Id.)


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                              II.   Analysis

      Movant fails to point to any specific error in the

magistrate judge’s F & R.      Instead, he states wholly new reasons

for reducing movant’s sentence.       The court has conducted a de

novo review and can find no error in the magistrate judge’s F &

R.   Moreover, the court finds no merit in movant’s new arguments

because this court is without authority to amend movant’s

sentence upon a motion by movant alone.

      A judgment in a criminal case is final and may be modified

only in accordance with specific statutory provisions.              18 U.S.C.

§ 3582(c) (stating that “[t]he court may not modify a term of

imprisonment once it has been imposed except [list of methods]”).

The methods of modifying a sentence are as follows.             First, on

motion of the Director of the Bureau of Prisons, the court may

reduce a sentence under certain conditions (1) if the court finds

that there are “extraordinary and compelling reasons” to reduce

the sentence or (2) if the defendant is over 70. § 3582(c)(A).

Next, on motion of the United States, the court may reduce a

sentence pursuant to Federal Rule of Criminal Procedure 35.

§ 3582(c)(B).    Finally, on motion by a variety of sources,

including the person sentenced, the court may reduce a sentence

if the Sentencing Commission later makes changes to the

Guidelines pursuant to 28 U.S.C. § 994(o) that benefit the person

sentenced.   18 U.S.C. § 3582(c)(2).        Under this statute, movant’s


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new arguments fail because a sentence may not be reduced for the

reasons he presents on a motion made by the person sentenced.

Accordingly, movant’s objections are OVERRULED.

     Having reviewed the Findings and Recommendation filed by

Magistrate Judge VanDervort, the court (1) CONFIRMS and ACCEPTS

the factual and legal analysis within the magistrate judge’s

Proposed F & R, (2) DENIES movant’s motion pursuant to 18 U.S.C.

§ 3582(c), and (3) DISMISSES this matter from the court’s active

docket.

     III.   Conclusion

     The Clerk is directed to forward a copy of this Memorandum

Opinion to all counsel of record and the movant, pro se.

     IT IS SO ORDERED this 8th day of August, 2006.

                                    ENTER:



                                    David A. Faber
                                    Chief Judge




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